                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA

IN RE:                              )
CAMP LEJEUNE WATER LITIGATION )                            Case No: 7:23-cv-897
                                    )
                                    )                      JOINT MOTION TO AMEND PRETRIAL
This Document Relates To: ALL CASES )                      SCHEDULING ORDERS [DE-270, DE-312,
                                    )                      and DE-332]
                                    )
                                    )


         Pursuant to Federal Rules of Civil Procedure 6(b)(1) and 16(b)(4), the Plaintiffs’

Leadership Group (“PLG”) and Defendant United States of America (collectively, “the

‘Parties’”), jointly move the Court to amend: (1) the August 7, 2024, Pretrial Scheduling Order

[DE-270]; (2) the January 2, 2025, Pretrial Scheduling Order [DE-312]; and (3) the March 11,

2025, Pretrial Schedule Order [DE-332]. The Parties seek to amend these orders to extend the

time for the Parties to (1) perform Phase II (General Causation) and Phase III (Specific

Causation) briefing, (2) complete fact discovery related to the Parties’ offset information and

potentially corresponding damages information, (3) serve Phase III expert reports related to

damages and offset information, (4) complete Phase III expert depositions for all Track 1 Trial

Cases related to the Parties’ life care planning, home renovation, damages, and offset experts,1

and (5) briefly extend the time for PLG to serve Phase III rebuttal life care planning expert

and/or home renovation expert reports.2


1
  Presently, the Parties have disclosed certain damages-related experts to which this amendment would apply: experts
related to life care planning (PLG experts include Michael A. Fryar, Kelly Sakala, and Kay Hairston; United States’
experts include Michael Shahnasarian and Deborah Navarro) (collectively, “Parties’ LCP Experts”); experts related to
economic damages and/or offset opinions (PLG experts include Chad Staller; United States’ experts include Tricia M.
Yount, Dubravka Tosic, Henry Miller, and Andrew Brod) (collectively, “Parties’ Economic Experts”); and PLG’s
home renovation expert Eric Anderson (“PLG’s Home Renovation Expert”). These experts are referred collectively
herein as the “Parties’ Damages Experts.”
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  Due to ongoing disputes, the Parties previously agreed to extend the due date for PLG to serve its Phase III rebuttal
expert reports for their Damages Experts that were originally due on May 14, 2025, per DE-312. While the Parties
agree to permit the Parties’ Economic Experts to serve amended reports following additional discovery, the Parties
agree that any Phase III rebuttal LCP Expert or Home Renovation Expert reports are due on July 2, 2025. This
                                                          1
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Phase II and Phase III Briefing

        The Parties have recently completed Phase II expert discovery and have just started

Phase III expert discovery. There are nearly 40 Phase III expert witness depositions that are

scheduled to take place during Phase III discovery, ending in late July 2025 (not including the

Parties’ 11 Damages Experts, who, upon entry of the corresponding proposed order, would be

deposed during a later phase). Additionally, at the Settlement Masters’ request, the Parties are

submitting mediation statements and engaging in in-person mediations for all 25 Track 1

Bellwether Plaintiffs; the mediations will begin in July 2025 and are scheduled to continue

through the end of August 2025.

        Consequently, to meet these competing demands, the Parties have agreed, if the Court

approves, to extend the time for the Parties to submit Phase II and Phase III briefing. In order

to make the briefing process more efficient for the Parties and for the Court (for example, there

are a number of Phase II experts who also submitted reports during Phase III), the Parties have

agreed to modify the briefing schedules for Phase II and Phase III so that opening briefs for

both Phase II and Phase III would be due concurrently on September 10, 2025, opposition

briefs would be due on November 10, 2025, and reply briefs would be due on December 12,

2025. Good cause exists for amendment of the Court’s orders to allow the Parties to effectively

and efficiently complete Phase III discovery and to take part in Track 1 settlement mediations.

The short extensions allow the Parties to appropriately brief Phase II and Phase III issues

without disrupting the Court’s overarching phased approach to this litigation, and commitment

to try any Track 1 cases, as necessary, in 2026.




agreement does not preclude the LCP Experts who have put forth opinions on the Parties’ life care plans from also
providing a report on other/different topics within the amended schedule, to the extent appropriate and to the extent
related to a respective Parties’ Economic Experts’ damages or offset opinions.
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Damages-Related Discovery

       The Parties presently dispute the timing and scope of the disclosure of offset-related

information (“Offset Information”) in this case and its impact on the Plaintiffs' damages

presentations. This dispute has been the subject of multiple meet and confers and is referenced

in the Joint Status Reports filed on May 14, 2025 [DE-383] and June 2, 2025 [DE-390]. The

issues also were raised at the Status Conferences occurring on May 21, 2025 and June 9, 2025.

In order to avoid the time and expense of engaging in motions practice on these disputed issues,

the Parties have agreed to conduct further discovery related to Offset Information and to

provide a separate discovery “Track” for this information as follows:

   1. The United States will (i) produce underlying offset data and materials from VHA
      (including IVC) TriWest, CMS, TRICARE and any other entity from which the government
      intends to utilize information to support its claimed offsets and (ii) work with those agencies
      to identify the individuals responsible for each agency's provided data and explanation, and
      provide those individuals for remote depositions by September 2, 2025. The depositions
      will be performed on a rolling basis via remote means in a manner that provides PLG
      sufficient time prior to each deposition to analyze the information pertinent to each
      deposition.

   2. PLG will produce amended damage assessment forms and expert reports on
      damages/offsets by no later than October 13, 2025.

   3. The United States will produce expert reports on damages/offsets by no later than 45 days
      after PLG completes its production under #2.

   4. PLG will produce rebuttal expert reports on damages/offsets by no later than 35 days after
      the United States completes its production under #3.

   5. The Parties will complete expert discovery on damages/offsets by no later than 45 days
      after PLG completes its production under #4. The currently scheduled depositions of the
      Parties’ Damages Experts shall be postponed to this period of expert discovery unless
      otherwise agreed between the parties. Motions pertaining to the experts being deposed
      according to this revised schedule will be included in a revised briefing schedule, if any is
      necessary.

Good cause exists for amendment of the Court’s Orders to allow for this additional discovery.

       The Parties request that the Court’s August 7, 2024, Pretrial Scheduling Order [DE-

270] be amended to permit the Parties sufficient time to produce offset-related information
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and to conduct fact depositions (to the extent necessary) on offset-related information; such

fact discovery shall conclude on September 2, 2025. The Parties further request that the

Court’s January 2, 2025, Pretrial Scheduling Order [DE-312] be amended to provide a separate

discovery “Track” to allow the Parties to serve expert reports related to the damages and offset

information and to complete depositions of the Parties’ Damages Experts. To further align

those Phase III expert discovery deadlines with the Court’s March 11, 2025, Pretrial

Scheduling Order [DE-332], which designated particular deadlines for experts related to

Track 1 Plaintiffs alleging Parkinson’s Disease, the Parties’ request necessitates amendment

of that Pretrial Scheduling Order [DE-332] as well.

       A proposed order is attached.


       DATED this 24th day of June 2025.            Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       I certify that, on June 24, 2025, a copy of the foregoing Joint Motion to Amend Pretrial

Scheduling Orders [DE-270, DE-312, and DE-332] was served electronically on all counsel of

record in this matter through the Court’s CM/ECF.


Dated: June 24, 2025                                /s/ Michael W. Cromwell




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